 Case 3:22-cv-02243-B Document 1-4 Filed 09/13/21                  Page 1 of 38 PageID 38



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

RODNEY VANCE, RONEICIA BROWNING,                      §
Individually and as Personal Representative           §
of the Estate of ROBERT BROWNING,                     §
VICTORIA GONZALEZ, MARILYN BATES,                     §
Individually and as Personal Representative of        §
the Estate of ARTHUR NEILL BATES,                     §
DONNIE COLLINS, GEORGE DUNNING,                       §
STEPHANIE GEE, RAYVEN RICHARDS,                       §
DILDRA SEATON, Individually and as                    §
Personal Representative of the Estate of              §
HAROLD SEATON, SHERRICE BELL,                         §
Individually and as Personal Representative           §
of the Estate SUSAN TURNER, BALANCE                   §
BRYANT, TRICIA FROISETH, Individually                 §
and as Personal Representative Estate of              §
ROBERT GAYLON DEAN, BENJAMIN                          §
WRIGHT, JR., Individually and as Personal             §            CIVIL ACTION NO.
Representative of the Estate of BENJAMIN              §            __________________
WRIGHT SR., ROBERT BAILEY, EVELYN                     §
NELSON, Individually and as Personal                  §
Representative of the Estate of JAMES                 §
NELSON, WILLIAM PATE, BLAXSIE MAE                     §
CROSS, BILLIE SUE McCLANAHAN,                         §
Individually and as Personal Representative           §
of the Estate of JOHN WALLACE                         §
McCLANAHAN, FELICIA BRADLEY,                          §
Individually and as Personal Representative           §
of the Estate of PAUL EDWARD BRADLEY,                 §
KIMBERLY BOWSER, DONALD TERRELL,                      §
Individually and as Personal Representative           §
Of the Estate of SUE NELL TERRELL                     §
                                                      §
VS.                                                   §
                                                      §
SAFETY-KLEEN SYSTEMS, INC.                            §

       INDEX OF ATTACHED STATE COURT PLEADINGS AND FILING DATES


  1.     State court docket sheet                                             09/10/21
  2.     Plaintiffs’ Original Petition                                        07/09/21
  3.     Letter requesting issuance of citation for Safety-Kleen              07/09/21
         Systems, Inc.
  4.     Issuance citation for Safety-Kleen Systems, Inc.                     07/12/21
                                         EXHIBIT D
Case 3:22-cv-02243-B Document 1-4 Filed 09/13/21        Page 2 of 38 PageID 39



5.   Dismissal hearing notice                                     07/12/21
6.   Return of Service for Safety-Kleen Systems, Inc.             08/19/21
9/10/21, 1:55 PM                                                           Details
               Case 3:22-cv-02243-B Document 1-4 Filed 09/13/21                      Page 3 of 38 PageID 40




             Case Information

             CC-21-02778-D | RODNEY VANCE, RONEICIA BROWNING, INDIVIDUALLY AND AS PERSONAL
             REPRESENTATIVE OF THE ESTATE OF ROBERT BROWNING, VICTORIA GONZALEZ.et al vs.SAEFTY-
             KLEEN SYSTEMS, INC.

             Case Number                            Court                             Judicial Officer
             CC-21-02778-D                          County Court at Law No. 4         ROSALES, PAULA
             File Date                              Case Type                         Case Status
             07/09/2021                             DAMAGES (NON COLLISION)           OPEN




             Party

             PLAINTIFF                                                                Active Attorneys 
             VANCE, RODNEY                                                            Lead Attorney
                                                                                      ARNOLD, KURT B.
                                                                                      Retained




             PLAINTIFF                                                                Active Attorneys 
             BROWNING, RONEICIA                                                       Lead Attorney
               Aliases                                                                ARNOLD, KURT B.
                                                                                      Retained
               INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE
               ESTATE OF ROBERT BROWNING




             PLAINTIFF                                                                Active Attorneys 
             GONZALEZ, VICTORIA                                                       Lead Attorney
                                                                                      ARNOLD, KURT B.
                                                                                      Retained




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#                                      1/6
9/10/21, 1:55 PM                                                           Details
              Case 3:22-cv-02243-B Document 1-4 Filed 09/13/21
             PLAINTIFF                                                               Page 4 of 38 PageID 41
                                                                                      Active Attorneys 
             BATES, MARILYN                                                           Lead Attorney
               Aliases                                                                ARNOLD, KURT B.
                                                                                      Retained
               INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE
               ESTATE OF ARTHUR NEILL BATES




             PLAINTIFF                                                                Active Attorneys 
             COLLINS, DONNIE                                                          Lead Attorney
                                                                                      ARNOLD, KURT B.
                                                                                      Retained




             PLAINTIFF                                                                Active Attorneys 
             DUNNING, GEORGE                                                          Lead Attorney
                                                                                      ARNOLD, KURT B.
                                                                                      Retained




             PLAINTIFF                                                                Active Attorneys 
             GEE, STEPHANIE                                                           Lead Attorney
                                                                                      ARNOLD, KURT B.
                                                                                      Retained




             PLAINTIFF                                                                Active Attorneys 
             RICHARDS, RAYVEN                                                         Lead Attorney
                                                                                      ARNOLD, KURT B.
                                                                                      Retained




             PLAINTIFF                                                                Active Attorneys 
             SEATON, DILDRA                                                           Lead Attorney
                                                                                      ARNOLD, KURT B.
               Aliases
                                                                                      Retained
               INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE
               ESTATE OF HAROLD SEATON




             PLAINTIFF                                                                Active Attorneys 
             BELL, SHERRICE                                                           Lead Attorney
                                                                                      ARNOLD, KURT B.
https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#                                      2/6
9/10/21, 1:55 PM                                                           Details
               Case 3:22-cv-02243-B Document 1-4 Filed 09/13/21
               Aliases                                                               Page   5 of 38 PageID 42
                                                                                      Retained
               INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE
               ESTATE OF SUSAN TURNER,




             PLAINTIFF                                                                Active Attorneys 
             BRYANT, BALANCE                                                          Lead Attorney
                                                                                      ARNOLD, KURT B.
                                                                                      Retained




             PLAINTIFF                                                                Active Attorneys 
             FROISETH, TRICIA                                                         Lead Attorney
               Aliases                                                                ARNOLD, KURT B.
                                                                                      Retained
               INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE
               ESTATE OF ROBERT GAYLON DEAN




             PLAINTIFF                                                                Active Attorneys 
             WRIGHT, BENJAMIN, Jr.                                                    Lead Attorney
               Aliases                                                                ARNOLD, KURT B.
                                                                                      Retained
               INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE
               ESTATE OF BENJAMIN WRIGHT SR




             PLAINTIFF                                                                Active Attorneys 
             BAILEY, ROBERT                                                           Lead Attorney
                                                                                      ARNOLD, KURT B.
                                                                                      Retained




             PLAINTIFF                                                                Active Attorneys 
             NELSON, EVELYN                                                           Lead Attorney
               Aliases                                                                ARNOLD, KURT B.
                                                                                      Retained
               INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE
               ESTATE OF JAMES NELSON




             PLAINTIFF                                                                Active Attorneys 
             PATE, WILLIAM                                                            Lead Attorney
                                                                                      ARNOLD, KURT B.
                                                                                      Retained



https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#                                        3/6
9/10/21, 1:55 PM                                                           Details
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             PLAINTIFF                                                                Active Attorneys 
             CROSS, BLAXSIE MAE                                                       Lead Attorney
                                                                                      ARNOLD, KURT B.
                                                                                      Retained




             PLAINTIFF                                                                Active Attorneys 
             MCCLANAHAN, BILLIE SUE                                                   Lead Attorney
               Aliases                                                                ARNOLD, KURT B.
                                                                                      Retained
               INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE
               ESTATE OF JOHN WALLACE MCCLANAHAN




             PLAINTIFF                                                                Active Attorneys 
             BRADLEY, FELICIA                                                         Lead Attorney
                                                                                      ARNOLD, KURT B.
               Aliases
                                                                                      Retained
               INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE
               ESTATE OF PAUL EDWARD BRADLEY




             PLAINTIFF                                                                Active Attorneys 
             BOWSER, KIMBERLY                                                         Lead Attorney
                                                                                      ARNOLD, KURT B.
                                                                                      Retained




             PLAINTIFF                                                                Active Attorneys 
             TERRELL, DONALD                                                          Lead Attorney
               Aliases                                                                ARNOLD, KURT B.
                                                                                      Retained
               INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE
               ESTATE OF SUE NELL TERRELL




             DEFENDANT
             SAEFTY-KLEEN SYSTEMS, INC.

             Address
             SERVE ITS REGISTERED AGENT: CT CORPORATION SYSTEM
             1999 BRYAN STREET, SUITE 900
             DALLAS TX 75201-3136




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9/10/21, 1:55 PM                                                           Details
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             Events and Hearings


                   07/09/2021 NEW CASE FILED (OCA)


                   07/09/2021 ORIGINAL PETITION 


                   PLAINTIFFS ORIGINAL PETITION

                     Comment
                     PLAINTIFFS ORIGINAL PETITION


                   07/09/2021 CORRESPONDENCE - LETTER TO FILE 


                   LETTER REQUESTING ISSUANCE

                     Comment
                     LETTER REQUESTING ISSUANCE


                   07/12/2021 JURY TRIAL DEMAND


                   07/12/2021 ISSUE CITATION 


                   ISSUE CITATION

                     Comment
                     E-SERVE ENV# 55240185


                   07/12/2021 CITATION (SERVICE) 


                   Unserved

                   Anticipated Server
                   ATTORNEY

                   Anticipated Method


                   08/23/2021 RETURN OF SERVICE 


                   RETURN OF SERVICE


                   01/31/2022 DISMISSAL HEARING 


                   3 CCL#4 Y LETTER

                   Judicial Officer
                   ROSALES, PAULA

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#                                      5/6
9/10/21, 1:55 PM                                                           Details
               Case
               Hearing3:22-cv-02243-B
                       Time           Document 1-4 Filed 09/13/21                    Page 8 of 38 PageID 45
                   9:00 AM




             Financial

             VANCE, RODNEY
                     Total Financial Assessment                                                       $321.00
                     Total Payments and Credits                                                       $321.00


               7/12/2021     Transaction Assessment                                                  $321.00

               7/12/2021     CREDIT CARD - TEXFILE            Receipt # CV-2021-      VANCE,        ($321.00)
                             (CC)                             06919                   RODNEY




             Documents


                   PLAINTIFFS ORIGINAL PETITION
                   LETTER REQUESTING ISSUANCE
                   ISSUE CITATION

                   3 CCL#4 Y LETTER
                   RETURN OF SERVICE




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#                                        6/6
                                                                                           FILED
                                                                               7/9/2021 11:36 AM
Case 3:22-cv-02243-B Document 1-4 Filed 09/13/21      Page 9 of 38 PageID 46   JOHN F. WARREN
                                                                                 COUNTY CLERK
                                                                                DALLAS COUNTY



                                  CAUSE NO.CC-21-02778-D

Rodney Vance; Roneicia Browning,              IN THE COUNTY COURT OF
individually and as Personal            •
Representative of the Estate of Robert
Browning; Victoria Gonzalez; Marilyn
Bates, individually and as Personal            DALLAS COUNTY,TEXAS
Representative of the Estate of Arthur
Neill Bates; Donnie Collins; George
Dunning; Stephanie Gee; Rayven
Richards; Dildra Seaton, individually          COURT AT LAW NO.
and as Personal Representative of the
Estate of Harold Seaton; Sherrice Bell,
individually and as Personal
Representative of the Estate of Susan
Turner; Balance Bryant; Tricia
Froiseth, individually and as Personal
Representative of the Estate of Robert
Gaylon Dean; Benjamin Wright Jr.,
individually and as Personal
Representative of the Estate of
Benjamin Wright Sr.; Robert Bailey;
Evelyn Nelson, individually and as
Personal Representative of the Estate of
James Nelson; William Pate; Blaxsie
Mae Cross; Billie Sue McClanahan,
individually and as Personal
Representative of the Estate of John
Wallace McClanahan; Plaintiff Felicia
Bradley, individually and as Personal
Representative of the Estate of Paul
Edward Bradley; Kimberly Bowser;
Donald Terrell, individually and as
Personal Representative of the Estate of
Sue Nell Terrell;

      Plaintiffs,

v.

Safety-Kleen Systems, Inc.

      Defendant.

                          PLAINTIFFS' ORIGINAL PETITION
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       Rodney Vance; Roneicia Browning, suing individually and as Personal Representative

of the Estate of Robert Browning; Victoria Gonzalez; Marilyn Bates, individually and as

Personal Representative ofthe Estate of Arthur Neill Bates; Donnie Collins; George Dunning;

Stephanie Gee; Rayven Richards; Dildra Seaton, individually and as Personal Representative

of the Estate of Harold Seaton; Sherrice Bell, individually and as Personal Representative of

the Estate of Susan Turner; Balance Bryant; Tricia Froiseth, individually and as Personal

Representative of the Estate of Robert Gaylon Dean; Benjamin Wright Jr., individually and as

Personal Representative of the Estate of Benjamin Wright Sr.; Robert Bailey; Evelyn Nelson,

individually and as Personal Representative of the Estate of James Nelson; and William Pate

("Plaintiffs") complain of Safety-Kleen Systems, Inc. ("Defendant") and will respectfully

show the Court the following:

                                              I.

                                    NATURE OF ACTION

       1.     This lawsuit is necessary as a result of Plaintiffs developing serious illnesses,

including but not limited to kidney cancer and non-Hodgkin's lymphoma cancer as a direct

and proximate result of chemical exposure during their work at the Carrier Corporation air

conditioning manufacturing facility in Tyler, Texas. Said chemical were produced

manufacturer and othe'rwise provided to Plaintiffs' place of employment by Defendant.



                                        DISCOVERY

       2.     Discovery in this matter may be conducted under Level 2 of the Texas Rules of

Civil Procedure.



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                                   JURISDICTION AND VENUE

       3.       This Court has subject-matter jurisdiction in this case because the amount in

controversy exceeds the minimum jurisdictional limits of this Court.

       4.       This case is not removable pursuant to of 28 U.S.C. 1441. Specifically, the

Defendant in this action is a local, Texas-based entity.

       5.       This Court has personal jurisdiction over all parties to this case. Defendant is a

for-profit corporations doing business in Texas as defined in TEX. CIV. PRAC.& REM. CODE §

17.042. In addition to contracting with Texas entities and committing torts in Texas as

described below, Defendant maintains and has maintained its principal office, in Dallas

County, Texas.

       6.       Venue is proper in Dallas County, Texas, pursuant to TEX. CIV. PRAC. & REM.

CODE §15.002(a)(3) because Defendant maintains its principal office for the State of Texas,

its decision maker for the organization within the State of Texas. That is, Defendant's

employees in Dallas County are "decision makers" for the company and have "substantially

equal responsibility and authority" relative to other company officials within the state. In re

Mo. Pac. R.R. Co., 998 S.W.2d 212, 217, 220 (Tex. 1999). Indeed, Defendant's website

explicitly states that it is headquartered in Dallas County, Texas:


      satetuthleen.                                             SERVICES   PRODUCTS   MARKETS WE SERVE   ABOUT   SUPPORT




                                    CONTACT US
                                                   Headquarters

                                        1651 North Glenville Gnve: Suite 210
                                               Richardson, TX   75081
                                              Toll Free: 800.323.5040




                                                      3
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                                                       ;1.




https://www.safety-kleen.com/contact-us.1

        7.        Venue is also proper in Dallas County, Texas pursuant to TEX. CIV. PRAC. &

REM. CODE §15.002(a)(3) because Defendant maintains an office in the county at which the

amount of activity is significantly larger and substantially predominates in Dallas County,

Texas, rendering it the principal office for the corporation.

                                               IV.

                                TOLLING OF STATUTE OF LIMITATIONS


        8.       Plaintiffs did not and could not have reasonably discovered during his

employment at Carrier that his injuries and life-threatening disease resulted from of his

occupational exposure to dangerous chemicals. At the time of his cancer diagnosis, Plaintiffs

did not and could not have reasonably discovered that their cancer and/or illnesses were caused

by harmful exposure to trichloroethylene and benzene during the course of their employment

at Carrier's Tyler, Texas plant.

                                               V.

                                            PARTIES

        9.       Plaintiff Rodney Vance is a resident of Texas. Plaintiff Rodney Vance

developed injuries and damages including, but not limited to Non-Hodgkins Lymphoma as a

result of exposure to Defendant's TCE and benzene containing products while working at

Carrier's Tyler, TX plant.

         10.     Plaintiff Roneicia Browning,suing individually and as Personal Representative

ofthe Estate ofRobert Browning, is a resident of Texas. Decedent Robert Browning developed



I Defendant's website as of July 9, 2021.

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injuries and damages including, but not limited to kidney cancer as a result of exposure to

Defendant's TCE and benzene containing products while working at Carrier's Tyler, TX plant.

         1 1.   Plaintiff Victoria Gonzalez is a resident of Texas. Plaintiff Victoria Gonzalez

developed injuries and damages including, but not limited to Non-Hodgkins Lymphoma as a

result of exposure to Defendant's TCE and benzene containing products while working at

Carrier's Tyler, TX plant.

         12.    Plaintiff Marilyn Bates, suing individually and as Personal Representative of

the Estate of Arthur Neill Bates, is a resident of Texas. Plaintiff Decedent Bates developed

injuries and damages including, but not limited to Non-Hodgkins Lymphoma and multiple

myeloma as a result of exposure to Defendant's TCE and benzene containing products while

working at Carrier's Tyler, TX plant.

         13.    Plaintiff Donnie Collins is a resident of Texas. Plaintiff Collins developed

injuries and damages including, but not limited to Non-Hodgkins Lymphoma as a result of

exposure to Defendant's TCE and benzene containing products while working at Carrier's

Tyler, TX plant.

         14.    Plaintiff George Dunning is a resident of Texas. Plaintiff Dunning developed

injuries and damages including, but not limited to Non-Hodgkins Lymphoma as a result of

exposure to Defendant's TCE and benzene containing products while working at Carrier's

Tyler, TX plant.

         15.    Plaintiff Stephanie Gee is a resident of Texas. Plaintiff Gee developed injuries

and damages including, but not limited to Non-Hodgkins Lymphoma as a result of exposure

to Defendant's TCE and benzene containing products while working at Carrier's Tyler, TX

plant.


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                                                   )


       16.    Plaintiff Rayven Richards is a resident of Texas. Plaintiff Richards injuries and

damages including, but not limited to Non-Hodgkins Lymphoma as a result of exposure to

Defendant's TCE and benzene containing products while working at Carrier's Tyler, TX plant.

       17.    Plaintiff Dildra Seaton, suing individually and as Personal Representative of

the Estate of Harold Seaton, is a resident of Texas. Decedent Seaton developed injuries and

damages including, but not limited to Non-Hodgkins Lymphoma as a result of exposure to

Defendant's TCE and benzene containing products while working at Carrier's Tyler, TX plant.

       18.    Plaintiff Sherrice Bell, suing individually and as Personal Representative of the

Estate of Susan Turner, is a resident of Texas. Decedent Bell developed injuries and damages

including, but not limited to multiple myeloma as a result of exposure to Defendant's TCE and

benzene containing products while working at Carrier's Tyler, TX plant.

       19.    Plaintiff Balance Bryant is a resident of Texas. Plaintiff Bryant developed

injuries and damages including, but not limited to kidney cancer as a result of exposure to

Defendant's TCE and benzene containing products while working at Carrier's Tyler, TX plant.

       20.    Plaintiff Tricia Froiseth, suing individually and as Personal Representative of

the Estate of Robert Gaylon Dean, is a resident of Texas. Decedent Dean developed injuries

and damages including, but not limited to multiple myeloma as a result of exposure to

Defendant's TCE and benzene containing products while working at Carrier's Tyler, TX plant.

      21.     Plaintiff Benjamin Wright Jr., suing individually and as Personal

Representative of the Estate of Benjamin Wright Sr., is a resident of Texas. Decedent Wright

developed injuries and damages including, but not limited to kidney cancer as a result of

exposure to Defendant's TCE and benzene containing products while working at Carrier's

Tyler, TX plant.


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       22.    Plaintiff Robert Bailey is a resident of Texas. Plaintiff Bailey developed

injuries and damages including, but not limited to kidney cancer as a result of exposure to

Defendant's TCE and benzene containing products while working at Carrier's Tyler, TX plant.

       23.    Plaintiff Evelyn Nelson, suing individually and as Personal Representative of

the Estate of Benjamin Nelson, is a resident of Texas. Decedent Nelson developed injuries and

damages including, but not limited to Non-Hodgkins Lymphoma as a result of exposure to

Defendant's TCE and benzene containing products while working at Carrier's Tyler, TX plant.

       24.    Plaintiff William Pate is a resident of Texas. Plaintiff Pate developed injuries

and damages including, but not limited to leukemia as a result of exposure to Defendant's TCE

and benzene containing products while working at Carrier's Tyler, TX plant.

       25.    Plaintiff Blaxsie Mae Cross is a resident of Texas. Plaintiff Pate developed

injuries and damages including, but not limited to kidney cancer as a result of exposure to

Defendant's TCE and benzene containing products while working at Carrier's Tyler, TX plant.

       26.    Plaintiff Billie Sue McClanahan, suing individually and as Personal

Representative of the Estate of John Wallace McClanahan, is a resident of Texas. Decedent

McClanahan developed injuries and damages including, but not limited to multiple myeloma

as a result of exposure to Defendant's TCE and benzene containing products while working at

Carrier's Tyler, TX plant.

       27.    Plaintiff Felicia Bradley, suing individually and as Personal Representative of

the Estate ofPaul Edward Bradley, is a resident of Texas. Decedent Bradley developed injuries

and damages including, but not limited to multiple myeloma as a result of exposure to

Defendant's TCE and benzene containing products while working at Carrier's Tyler, TX plant.




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         28.   Plaintiff Kimberley Bowser, adult child of Paul Edward Bradley, is a Texas

resident who sustained injuries and damages when her father died as a result of multiple

myeloma due to exposure to Defendant's TCE and benzene containing products while working

at Carrier's Tyler, TX plant.

         29.   TCE and benzene containing products while working at Carrier's Tyler, TX

plant.

         30.   Plaintiff Donald Terrell, suing individually and as Personal Representative of

the Estate of Sue Nell Terrell, is a resident of Texas. Decedent Terrel developed injuries and

damages including, but not limited to lymphoma as a result of exposure to Defendant's TCE

and benzene containing products while working at Carrier's Tyler, TX plant.

         31.   Defendant Safety-Kleen Systems, Inc. may be served with process, by and

through, its registered agent: C T Corp System, 1999 Bryan Street, Suite 900, Dallas, TX

75201-3136.

                                              VI.


                                            FACTS

         32.   Plaintiffs worked for Carrier Corporation in the press shop, coil shop, and other

areas of the Tyler, TX air conditioning plant during and after the times at which Defendant

supplied trichloroethylene ("TCE") and benzene to the facility. During that employment,

Plaintiff was frequently exposed to TCE and benzene.

         33.   At all relevant times, Defendant supplied Carrier with chemical solvents

containing TCE, including but not limited to a solvent known as "105 Solvent", to be used by

Carrier as a degreasing agent. Among other ingredients, the 105 Solvent contained TCE and

benzene.


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        34.    TCE is a chemical solvent mainly used in industrial and commercial processes,

 including vapor degreasing. Vapor degreasing is a cleaning process for fabricated parts that

involves heating solvents like TCE in a degreasing unit to a hot vapor. The vapor condenses

onto parts placed in the unit and carries contaminants away from those parts as it beads and

then drips off. Plaintiffs were exposed to TCE and benzene in this manner, and in other ways,

during their time at Carrier.

       35.     Much of what is known about the human health effects of TCE and benzene is

based on occupational exposures. Workplace exposure to TCE carries serious health risks,

including the risk of non-Hodgkin's lymphoma cancer. These health risks were known at the

time of Plaintiffs' employment.

       36.     TCE is classified by the Environmental Protection Agency("EPA")as a known

human carcinogen. TCE is also classified as a HAP as defined by Section 112(b) of the Clean

Air Act. TCE is further defined as a halogenated solvent under EPA statutory definitions. See

40 CFR Subpart 63.460. Under the latter provision, Carrier was required to submit annual

reports to the EPA.

       37.     Carrier's Tyler plant was a significant emitter of both Hazardous Air Pollutants

(HAPs) and Volatile Organic Compounds (VOCs), specifically stemming from its TCE

consumption.

       38.     As a direct result of their frequent exposure to TCE, benzene, and/or other

hazardous chemicals, Plaintiffs developed non-Hodgkin's lymphoma, kidney cancer, and other

life-threatening ailments.

       39.     Defendant sold, provided, manufactured, delivered, and/or otherwise made

available TCE, benzene, and other hazardous chemicals to Defendant Carrier for use at its


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Tyler, TX facility. Defendant's principal place of business and "nerve center" where business

decisions are made is in Richardson, TX.

         40.   An internal memorandum from Defendant's then-Product and Process

Development Manager Paul Dittmar evinced Defendant's prior knowledge as to the hazardous,

carcinogenic effects of its product. In his memorandum, Dittmar emphasized the dangerous

level of contamination in Defendant's products, including 105 Solvent, specifically, but not

limited to, the presence of benzene. Dittmar additionally implored Defendant to utilize a

different technology known as fractional distillation in order to eliminate benzene and

drastically reduce the 105 Solvent's chlorinated content. Dittmar further demonstrated that

such a technological shift would have a negligible financial impact on Defendant's production

costs.

         41.   Nevertheless, Defendant chose not to opt for this inexpensive, less dangerous,

and ethical option in designing, producing, manufacturing, and distributing its product.

         42.   Defendant concealed from consumers including Plaintiff that its product was

contaminated with highly toxic carcinogens, including, but not limited to, benzene, TCE,

tetrachloroethylene, and many other known toxic substances, which Defendant knew had

deleterious effects on human health of those exposed to said substances.

         43.   Plaintiffs were resultant exposed to dangerous amounts of benzene through the

regular and foreseeable use of the Safety-Kleen 105 solvent.

         44.   Specifically, the 105 Solvent would flow in a stream through the air in an open

system, causing the carcinogens in the solvent to volatilize in the immediate breathing area of

the persons near the parts washer and/or degreaser units, causing Plaintiffs to inhale the toxic,

carcinogenic chemicals.


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       45.     Because of Defendant's wrongful conduct described herein, Plaintiffs suffered

serious and lasting injuries.

                                              VII.


                                     CAUSES OF ACTION

   A. Products Liability Against Defendant

       46.     Plaintiffs incorporate all prior paragraphs herein by reference.

       47.     Defendant is liable under Section 82.003(a) of the Texas Civil Practice and

Remedies Code as a non-manufacturing seller because Defendant is engaged in the business

of distributing or otherwise placing, for commercial purposes, into the stream of commerce

TCE, benzene, and other hazardous chemicals.

       48.     Defendant is liable under a products liability theory pursuant to Section

82.003(a) of the Texas Civil Practice and Remedies Code because it participated in the design

of the product and/or modified the product and Plaintiffs' harms resulted from the design,

alteration, or modification. Additionally, Defendant either had actual or constructive

knowledge of thc dangerous condition of thc TCE, benzene, and other hazardous chemicals

when they sold it for use in Plaintiffs' workplace.

       49.     Defendant manufactured, designed, distributed, and/or sold the TCE, benzene,

and other hazardous chemicals which injuied Plaintiffs, with design, manufacturing, andiui

marketing defects.

       50.    Manufacturing Defect: The equipment was designed, manufactured,

distributed, and/or sold with one or more manufacturing defects. Defendant sold the defective

TCE, benzene, and other hazardous chemicals and allowed a deviation in the quality of

construction, assembly, installation, plan, and/or specifications rendering the TCE, benzene,


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and other hazardous chemicals unreasonably dangerous. Specifically, the combination of the

defective TCE, benzene, and other hazardous chemicals rendered the chemicals unreasonably

dangerous.

         51.   Design Defect: The equipment was designed, manufactured, distributed and/or

sold with one or more design defects:

               a. Defendant designed the TCE, benzene, and other hazardous chemicals in an

                  unreasonably dangerous manner;

               b. Defendant knew of safer alternative designs that were available at the time;

               c. The safer alternative designs would have prevented or significantly reduced

                  the above risks without substantially impairing product's utility;

               d. The safer alternative design was economically and technologically feasible

                  at the time the TCE, benzene, and other hazardous chemicals left the control

                  of Defendant; and

               e. The design defect(s) rendered the TCE, benzene, and other hazardous

                  chemicals unreasonably dangerous.

   52.         Marketing Defect and Failure to Warn: The TCE, benzene, and other

hazardous chemicals were designed, manufactured, distributed, and/or sold with one or more

marketing defects:

               a. There was an unreasonable risk in the intended or reasonably foreseeable

                  use of such TCE, benzene, and other hazardous chemicals;

               b. Defendant knew, foresaw, or should have known of or foreseen the above

                  risks;

               c. Defendant failed to adequately warn Plaintiffs of the risks, failed to instruct


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                   Plaintiffs of the above risks, and/or failed to adequately instruct Plaintiffs

                   how to avoid the dangers;

                d. The marketing defect(s) rendered the TCE, benzene, and other hazardous

                   chemicals unreasonably dangerous.

          53.   The design, manufacturing, and/or marketing defect(s), rendered the TCE and

benzene unreasonably dangerous.

          54.   Plaintiffs are also entitled to exemplary damages because the aforementioned

actions and/or inactions of Defendant amounts to gross negligence. Defendant was aware of

the risks involved with using these chemicals and nevertheless proceeded in a fashion that

constitutes conscious indifference to Plaintiffs' safety and welfare. Defendant's actions and/or

inactions, viewed objectively, subjected Plaintiffs to an extreme degree of danger.

          55.   As a direct and proximate result of Defendant's negligence and gross

negligence, Plaintiffs sustained severe injuries to his body and mind, which resulted in physical

pain, mental anguish, and medical problems. Plaintiffs have also suffered a loss of earnings in

the past, as well as a loss of future earning capacity. Plaintiffs have been damaged in a sum far

in excess of the minimum jurisdictional limits of this Honorable Court, for which he now sues.

     B. Negligence

          56.   Plaintiff incorporates by reference preceding paragraphs as though fully stated

herein.

          57.   Plaintiffs used, worked with, around, and in close proximity to, handled,

inhaled, dermally absorbed, ingested, and was otherwise directly and indirectly exposed to

Defendant's various aforementioned TCE and benzene-containing products, chemicals, and

solvents, including, without limitation, the 105 Solvent in both its recycled and virgin forms.


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       58.    Defendant knew, or in the exercise of reasonable care should have known, that

employees including Plaintiffs would use, work with, around, and in close proximity to,

handle, inhale, dermally absorb, ingest, and otherwise be directly and indirectly exposed to

hazardous chemicals such as TCE and benzene in the form of products including 105 Solvent.

       59.    Defendant, knew or with the exercise of reasonable care should have known,

that their aforementioned benzene and TCE-containing products,including, without limitation,

the 105 Solvent were highly carcinogenic, inherently defective, ultra-hazardous, unreasonably

dangerous, poisonous, and otherwise highly harmful to the body and health of Plaintiffs and

other employees similarly situated.

       60.    Plaintiffs and other similarly situated Carrier employees did not know the nature

and extent of the danger to their bodies and health, including the advanced risk for non-

Hodgkin's lymphoma, cancer, endocrinic and liver diseases and damage, and other maladies

caused directly by exposure to the aforementioned benzene and TCE-containing products,

including, without limitation, 105 Solvent.

       61.    Defendant knew, or with the exercise of reasonable care should have known,

that Plaintiffs and other similarly situated employees would come into direct and indirect

contact with, handle, inhale, ingest, dermally absorb, and otherwise be exposed to benzene and

TCE through their products, including, without limitation, 105 Solvent, during their ordinary

and foreseeable use.

       62.    Defendant had a duty to all consumers, workers, and employers to exercise

reasonable care in creating, manufacturing, designing, producing, processing, marketing,

selling, warning, distributing, and otherwise placing their product into the stream ofcommerce.

This includes a duty to assure that their products, chemicals, and solvents did not pose a risk


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of injury, harm, disease, and death, including cancers such as non-Hodgkin's Lymphoma, as

well as other diseases and damages directly attributable to their product.

       63.    Defendant breached its duty and was negligent as, despite their knowledge of

the aforementioned defects and hazardous effects of their products, it nonetheless:

              a.     manufactured, produced, designed, processed, sold, marketed, supplied,

                     distributed, and/or otherwise placed into the stream of commerce their

                     various TCE and benzene-containing products, chemicals, and solvents,

                     including but without limitation 105 Solvent, that they knew to be

                     carcinogenic and at risk for causing other significant liver, endocrinic,

                     and neurological impairment, dysfunction, and damage;

              b.     Failed to take. adequate precautions to warn Plaintiffs and similarly

                     situated employees that their products were carcinogenic and known to

                     also result in liver, endocrinic, and neurological impairment,

                     dysfunction, and damage;

              c.     Failed to take adequate precautions to warn Plaintiffs and similarly

                     situated employees of reasonably safe, sufficient, and necessary

                     safeguards, personal protective equipment, apparel, appliances, and

                     controls to reasonably protect them from exposure to the risks inherent

                     in their aforementioned products;

              e.     Continued to manufacture, produce, distribute, sell, process, market, and

                     otherwise place into the stream of commerce these products which were

                     at all times known by Defendant to be highly carcinogenic and/or

                     associated with liver, endocrinic, and neurological impairment,


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                      dysfunction, and damage;

               f.     Failed to comply with all federal, state, local, and trade statutes, codes,

                      regulations, laws, and ordinances relating to TCE and benzene, including

                      actions required to determine and analyze the hazardous qualities of their

                      products and the warnings and instructions accompanying the same,

                      pursuant to, and without limitation, 29 CFE 1910.1200, CFR 1910.1028,

                      and 49 CFR Parts 100-199;

               g.     Failed to take all reasonable, necessary, proper, and prudent measures to

                      test their aforementioned products to determine the content and quantity

                      of benzene and TCE released into the breathing zone of the end user and

                      dermally absorbed by the user during these products' ordinary, intended,

                      and foreseeable use;

               h.     Failed to test these products for health hazards, including the substantial

                      risk of cancer (including non-Hodgkin's lymphoma) and other liver,

                      endocrinic, and neurological impairments, dysfunction, and damages.

       64.     As a direct and proximate result of Defendant's acts and omissions, Plaintiffs

developed, suffers, and will continue to suffer from life-threatings illnesses including non-

Hodgkin's lymphoma, kidney cancer, multiple myeloma, and the numerous side effects,

conditions, and illnesses caused by these illnesses, which have caused and will continue to

cause Plaintiffs pain, suffering, disability, impairment, mental anguish, physical harm, and a

substantially increased risk for a shorter life expectancy, In addition, as a direct and proximate

result of Defendant's acts and omissions, Plaintiffs require ongoing, necessary medical

treatment for their injuries, which in turn necessitates and will continue to necessitate


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hospitalizations, medicines, and other treatment for their illnesses and injuries and will incur

additional, substantial economic expenses and losses.

                                             VIII.

                                         JURY TRIAL

       65.     Plaintiffs hereby request a trial by jury on all claims and submits their jury fee

herewith.

                                              Ix.
                                           PRAYER

       Plaintiffs pray that this citation issue and be served upon Defendant in a form and

manner prescribed by law,requiring Defendant appear and answer, and that upon final hearing,

Plaintiffs have judgment against Defendant in a total sum in excess of the minimum

jurisdictional limits of this Court, plus pre-judgment and post-judgment interests, all costs of

Court, and all such other relief to which Plaintiffs show themselves justly entitled. As required

by Rule 47 of the Texas Rules of Civil Procedure, Plaintiffs affirmatively state that they seek

damages in excess of $1,000,000 and prays for relief and judgment, as follows:

              • Compensatory damages against Defendant;

              • Actual damages;

              • Consequential damages;

              • Pain and suffering;

              • Exemplary damages;

              • Past and future mental anguish;

              • Past and future impairment;

              • Past and future wage loss;


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           • Past and future medical costs;

           • Interest on damages (pre-judgment and post-judgment) in accordance with

              the law;

           • Costs of court;

           • Expert witness fees;

           • Cost of copies of depositions; and

           • Such other and further relief as the Court may deem just and proper.



                                       Respectfully Submitted,

                                      /s/ Kurt Arnold
                                      Kurt B. Arnold
                                      SBN: 24036150
                                      karnold@arnolditkin.com
                                      Caj D. Boatright
                                      SBN: 24036237
                                      cboatright@arnolditkin.com
                                      Roland T. Christensen
                                      SBN: 24101222
                                      rchristensen@arnolditkin.com
                                      Joseph F. McGowin
                                      SBN: 24117268
                                      jmcgowin@arnolditkin.com
                                      ARNOLD & ITKIN LLP
                                      6009 Memorial Drive
                                      Houston, Texas 77007
                                      Tel: 713.222.3800
                                      Fax: 713.222.3850
                                      e-service@arnolditkin.com

                                       ATTORNEYS FOR PLAINTIFFS
Case 3:22-cv-02243-B Document 1-4 Filed 09/13/21   Page 27 of 38 PageID 64



                                  /s/ Chuck Cowan
                                  C.D."Chuck" Cowan
                                  State Bar No. 04911150
                                  chuckcowan@tyler.net
                                  THE LAW OFFICES OF C.D. COWAN,P.C.
                                  414 S Bonner Ave, Tyler, TX 75702
                                  Tel:(903) 597-5500
                                  Fax:(903) 597-5598

                                  ATTORNEY FOR PLAINTIFFS


                                  /s/ Mark Mueller
                                   Mark Mueller
                                  State Bar No. 14623500
                                   mark@muellerlaw.com
                                  MUELLER LAW,PLLC
                                  404 W. 7th St.
                                   Austin, Texas 78701
                                  Tel: 512-478-1236
                                  Fax: 512-478-1473

                                  ATTORNEY FOR PLAINTIFFS




                                    19
    Case 3:22-cv-02243-B Document 1-4 Filed 09/13/21               Page 28 of 38 PageID 65

                         Automated Certificate of eService
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The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Cristal Becerra on behalf of Kurt Arnold
Bar No. 24036150
cbecerra@arnolditkin.com
Envelope ID: 55192437
Status as of 7/12/2021 8:39 AM CST

Associated Case Party: RODNEY VANCE

 Name               BarNumber Email                        TimestampSubmitted     Status
 Kurt Arnold                   e-service@arnolditkin.com   7/9/2021 11:36:47 AM   SENT

Cristal Becerra                cbecerra@arnolditkin.com    7/9/2021 11:36:47 AM   SENT

 Joseph McGowin                jmcgowin@arnolditkin.com    7/9/2021 11:36:47 AM   SENT
 Mark R. Mueller    14623500   mark@muellerlaw.com         7/9/2021 11:36:47 AM   SENT
C.D. "Chuck"Cowan              chuckcowan@tyler.net        7/9/2021 11:36:47 AM   SENT
                                                                                                             FILED
                                                                                                  7/9/2021 11:36 AM
                                                                                                  JOHN F. WARREN
  Case 3:22-cv-02243-B Document 1-4 Filed 09/13/21                   Page 29 of 38 PageID 66        COUNTY CLERK

                                                a   ‘                                              DALLAS COUNTY




                                 ARNOLD & ITKIN
                                        TRIAL   LAWYERS




                                           July 9, 2021

Via Electronic Filing
John F. Warren                       CC_21_02778_D
Dallas County Clerk
1201 Elm Street
Dallas, Texas 75270

       Re:     Cause No.              ; Rodney Vance, et a/. V. Safely-Kleen Systems, Ina; In
               the County Court at Law No.    , Dallas County, Texas.


Dear Clerk of Court,

       Please accept this letter as a request for issuance of one (1) citation to the following
defendant:

                                  Safety-Kleen Systems, Inc.
                                      c/o C T Corp System
                                   1999 Bryan Street, Suite 900
                                      Dallas, TX 75201-3136

       The fees associated with this request are being submitted with this ﬁling.

       Once the citations have been issued, please email them to e-service@arnolditkin.com.

       If you should have any questions, please contact me at (713) 222-3809.

                                                        Sincerely,


                                                        WPOW
                                                        Cristal Becerra
                                                        Legal Assistant




t 866.222.2606                     6009 Memorial Drive                    info@arnolditkin.com
f 713.222.3850                     Houston, TX 77007                      arnolditkin.com
       Case 3:22-cv-02243-B Document 1-4 Filed 09/13/21             Page 30 of 38 PageID 67
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
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on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Cristal Becerra on behalf of Kurt Arnold
Bar No. 24036150
cbecerra@arnolditkin.com
Envelope ID: 55192437
Status as of 7/12/2021 8:39 AM CST

Associated Case Party: RODNEY VANCE

Name                BarNumber   Email                       TimestampSubmitted     Status
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Kurt Arnold                     e-service@arnolditkin.com   7/9/2021 11:36:47 AM   SENT
Joseph McGowin                  jmcgowin@arnolditkin.com    7/9/2021 11:36:47 AM   SENT
Mark R. Mueller     14623500    mark@muellerlaw.com         7/9/2021 11:36:47 AM   SENT
C.D. "Chuck"Cowan               chuckcowan@tyler.net        7/9/2021 11:36:47 AM   SENT
                                        Case 3:22-cv-02243-B Document 1-4 Filed 09/13/21                                               Page 31 of 38 PageID 68

                                                                                                                                                                                 ATTORNEY
                                           THE STATE 0F TEXAS                                                                                                                    CITATION
                                                      CITATION                                                                                                         PLAINTIFFS' ORIGINAL PETITION
                                                                                                                                                                               CC-21-02778-D
                                             CAUSE NO. CC-21-02778-D
                                           COUNTY COURT AT LAW NO. 4                                                                                                   IN THE COUNTY COURT OF DALLAS
                                                     Dallas County, Texas                                                                                                    County Court at Law No. 4
                                                                                                                                                                             Dallas County, Texas
TO:
            SAEFTY-KLEEN SYSTEMS, INC.                                                                                                                               RODNEY VANCE; RONEICIA BROWNING;
            SERVE ITS REGISTERED AGENT CT CORPORATION SYSTEM                                                                                                         VICTORIA GONZALEZ; MARILYN BATES;
            1999 BRYAN STREET SUITE 900                                                                                                                               DONNIE COLLINS; GEORGE DUNNING;
            DALLAS TX 75201-3136                                                                                                                                      STEPHANIE GEE; RAYVEN RICHARDS;
                                                                                                                                                                        DILDRA SEATON; SHERRICE BELL;
         “You have been sued. You may employ an attorney. If you or your Attorney do not ﬁle a WRITTEN ANSWER with the clerk who issued this citation                 BALANCE BRYANT; TRICIA FROISETH;
         by 10:00 A.M. on the Monday next following the expiration of twenty days after you were served this citation and PLAINTIFFS' ORIGINAL                       BENJAMIN WRIGHT, Jr,; ROBERT BAILEY;
         PETITION, a default judgment may be taken against you. In addition to ﬁling a written answer with the clerk, you may be required to make initial           EVELYN NELSON; WILLIAM PATE; BLAXSIE
         disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days after you ﬁle your answer with the clerk.     MAE CROSS; BILLIE SUE MCCLANAHAN;
         Find out more at TexasLawHelporg.” Your answer should be addressed to the clerk of County Court at Law No. 4 of Dallas County, Texas at the                 FELICIA BRADLEY; KIMBERLY BOWSER;
         Court House of said County, 600 Commerce Street, Suite 101, Dallas, Texas 75202.                                                                                 DONALD TERRELL, Plaintifﬂs)

                                                                                                                                                                                       VS.
          RODNEY VANCE; RON EICIA BROWNING INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT
        BROWNING; VICTORIA GONZALEZ MARILYN BATES INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF                                                      SAEFTY-KLEEN SYSTEMS, INC, Defendant(s)
            ARTHUR NEILL BATES ; DONNIE COLLINS; GEORGE DUNNING; STEPHANIE GEE; RAYVEN RICHARDS; DILDRA SEATON
        INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF HAROLD SEATON; ; SHERRICE BELL INDIVIDUALLY
      AND AS PERSONAL REPRESENTATIVE 0F THE ESTATE OF SUSAN TURNER ; BALANCE BRYANT; TRICIA FROISETH INDIVIDUALLY                                                  SERVE:
       AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT GAYLON DEAN ; BENJAMIN WRIGHT, Jr. INDIVIDUALLY AND                                                       SAEFTY-KLEEN SYSTEMS, INC.
      AS PERSONAL REPRESENTATIVE OF THE ESTATE OF BENJAMIN WRIGHT SR ; ROBERT BAILEY; EVELYN NELSON INDIVIDUALLY
         AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF JAMES NELSON; WILLIAM PATE; BLAXSIE MAE CROSS; BILLIE SUE                                                    SERVE ITS REGISTERED AGENT CT
          MCCLANAHAN INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF JOHN WALLACE MCCLANAHAN ;                                                                CORPORATION SYSTEM
           FELICIA BRADLEY INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF PAUL EDWARD BRADLEY ;                                                           1999 BRYAN STREET SUITE 900
        KIMBERLY BOWSER INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF SUE NELL TERRELL ; DONALD                                                               DALLAS TX 75201-3136
                                                                        TERRELL
                                                                        Plainttﬂb)                                                                                               ISSUED THIS
                                                                                                                                                                            12TH DAY OF JULY, 2021

                                                                           VS.                                                                                         JOHN F. WARREN, COUNTY CLERK
                                                                                                                                                                       BY: GUISLA HERNANDEZ, DEPUTY
                                                          SAEFTY-KLEEN SYSTEMS, INC.
                                                                      Defen dant(s)                                                                                            Attorney for Plaintiff
                                                                                                                                                                               KURT B. ARNOLD
         ﬁled in said Court on the 9th day of July, 2021, a copy of which accompanies this citation.                                                                         ARNOLD & ITKIN LLP
                                                                                                                                                                              6009 MEMORIAL DR
        WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY HAND AND SEAL OF                                                          HOUSTON TX 77098
                  at Dallas, Texas, and issued this 12th day   of July, 2021 A.D.                                                                                                 713-222-3800
        OFFICE,
         JOHN F, WARREN, Dallas County Clerk

                                                                                                 $15907                                                               NOOH’IQ‘SFEESHAVEBEN
         BygzwL/d«             #Wdéeputy
                    Guisla Hernandez
                                                                                                                                                                   mUECI'EDBYDALLASCOUN'IYGHK




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                                                                                               but 41.“ﬁ‘
                                     Case 3:22-cv-02243-B Document 1-4 Filed 09/13/21                   Page 32 of 38 PageID 69


                                                                                 OFFICER’S RETURN
CC-21-02778-D      County Court at Law No. 4

RODNEY VANCE, RONEICIA BROWNING, INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT BROWNING, VICTORIA GONZALEZet al vs.SAEFTY-KLEEN
SYSTEMS, INC.

ADDRESS FOR SERVICE:
SERVE ITS REGISTERED AGENT CT CORPORATION SYSTEM
1999 BRYAN STREET SUITE 900
DALLAS TX 75201-3136

Fees:
Came to hand on the          day of                 , 20           , at      o’clock      .m., and executed in              County, Texas by delivering to SAEFTY-
KLEEN SYSTEMS, INC.         in person, a true copy of this Citation together with the accompanying copy of the PLAIN TIFFS' ORIGINAL PETITION with the date and
service at the following times and places to-wit:

Name                                                     Date/Time                            Place, Course and Distance from Courthouse




And not executed as to the defendant(s),

The diligence used in ﬁnding said defendant(s) being:


and the cause or failure to execute this process is:



and the information received as to the whereabouts     of said defendant(s) being:


                                               Serving Petition and Copy             $                                                 ,   Ofﬁcer

                                               Total     $                                                                    ,   County, Texas

                                                                                              By:                                      a   Depmy

                                                                                                                                       ,   Afflant
 Case 3:22-cv-02243-B Document 1-4 Filed 09/13/21                       Page 33 of 38 PageID 70




                            COUNTY COURT AT LAW NO. 4
                            GEORGE L. ALLEN, SR. COURTS BUILDING
                              600 COMMERCE STREET, 5TH FLOOR
                                    DALLAS, TEXAS 75202
                                              214-653-7345
Chambers of JUDGE     PAULA M. ROSALES                                       July 12, 2021
KURT B. ARNOLD
ARNOLD & ITKIN LLP
6009 MEMORIAL DR
HOUSTON TX 77098

Cause No.        CC-21-02778-D
          RODNEY VANCE, RONEICIA BROWNING, INDIVIDUALLY AND AS
Cause Style:
PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT BROWNING,
VICTORIA GONZALEZ.et a1 VS.SAEFTY-KLEEN SYSTEMS, INC.


Dear Attorney:

The above case is set for dismissal, pursuant to Rule 165a, Texas Ruled of Civil Procedure on:
01/31/2022 @ 9:00 AM.

If no answer has been ﬁled, or if the answer ﬁled is insufﬁcient as a matter of law to place any facts
alleged in your petition in issue, you will be expected to have moved for, and to have heard , a
summary judgment or to have proved up a default order on or prior to that date.

If an answer has been ﬁled that is sufﬁcient to create a fact issue that prevents disposition of the entire
case, or if you have been unable to obtain service of process, you should plan to appear to obtain a
reset of the dismissal date or a trial setting as appropriate.

In no event will live witnesses be required unless the default prove-up is for an unliquidated claim.
Liquidated claims and attorneys fees may be proved up by afﬁdavit submitted with a form of
judgment.

If you should have any questions, please feel free to callus.

                                                           Very Truly Yours,



                                                           PAULA M. ROSALES
                                                           Judge Presiding
                                                                                                                                                                                                        Electronically S'dbm
                                                                                                                                                                                                         8/23/2021 12:22 RM
                                                                                                                                                                                                          JOHN F. WARREN
                                        Case 3:22-cv-02243-B Document 1-4 Filed 09/13/21                                               Page 34 of 38 PageID 71                                             COUNTY CLERK
                                                                                                                                                                                                          DALLAS COUNTY
                                                                                                                                                                                 ATTORNEY
                                           THE STATE 0F TEXAS                                                                                                                    CITATION
                                                      CITATION                                                                                                         PLAINTIFFS' ORIGINAL PETITION
                                                                                                                                                                               CC-21-02778-D
                                             CAUSE NO. CC-21-02778-D
                                           COUNTY COURT AT LAW NO. 4                                                                                                   IN THE COUNTY COURT OF DALLAS
                                                     Dallas County, Texas                                                                                                    County Court at Law No. 4
                                                                                                                                                                             Dallas County, Texas
TO:
            SAEFTY-KLEEN SYSTEMS, INC.                                                                                                                               RODNEY VANCE; RONEICIA BROWNING;
            SERVE ITS REGISTERED AGENT CT CORPORATION SYSTEM                                                                                                         VICTORIA GONZALEZ; MARILYN BATES;
            1999 BRYAN STREET SUITE 900                                                                                                                               DONNIE COLLINS; GEORGE DUNNING;
            DALLAS TX 75201-3136                                                                                                                                      STEPHANIE GEE; RAYVEN RICHARDS;
                                                                                                                                                                        DILDRA SEATON; SHERRICE BELL;
         “You have been sued. You may employ an attorney. If you or your Attorney do not ﬁle a WRITTEN ANSWER with the clerk who issued this citation                 BALANCE BRYANT; TRICIA FROISETH;
         by 10:00 A.M. on the Monday next following the expiration of twenty days after you were served this citation and PLAINTIFFS' ORIGINAL                       BENJAMIN WRIGHT, Jr,; ROBERT BAILEY;
         PETITION, a default judgment may be taken against you. In addition to ﬁling a written answer with the clerk, you may be required to make initial           EVELYN NELSON; WILLIAM PATE; BLAXSIE
         disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days after you ﬁle your answer with the clerk.     MAE CROSS; BILLIE SUE MCCLANAHAN;
         Find out more at TexasLawHelp.org.” Your answer should be addressed to the clerk of County Court at Law No. 4 of Dallas County, Texas at the                FELICIA BRADLEY; KIMBERLY BOWSER;
         Court House of said County, 600 Commerce Street, Suite 101, Dallas, Texas 75202.                                                                                 DONALD TERRELL, Plaintifﬂs)

                                                                                                                                                                                       VS.
          RODNEY VANCE; RON EICIA BROWNING INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT
        BROWNING; VICTORIA GONZALEZ MARILYN BATES INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF                                                      SAEFTY-KLEEN SYSTEMS, INC, Defendant(s)
            ARTHUR NEILL BATES ; DONNIE COLLINS; GEORGE DUNNING; STEPHANIE GEE; RAYVEN RICHARDS; DILDRA SEATON
        INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF HAROLD SEATON; ; SHERRICE BELL INDIVIDUALLY
      AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF SUSAN TURNER ; BALANCE BRYANT; TRICIA FROISETH INDIVIDUALLY                                                  SERVE:
       AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT GAYLON DEAN ; BENJAMIN WRIGHT, Jr. INDIVIDUALLY AND                                                       SAEFTY-KLEEN SYSTEMS, INC.
      AS PERSONAL REPRESENTATIVE OF THE ESTATE OF BENJAMIN WRIGHT SR ; ROBERT BAILEY; EVELYN NELSON INDIVIDUALLY
         AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF JAMES NELSON; WILLIAM PATE; BLAXSIE MAE CROSS; BILLIE SUE                                                    SERVE ITS REGISTERED AGENT CT
          MCCLANAHAN INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF JOHN WALLACE MCCLANAHAN ;                                                                CORPORATION SYSTEM
           FELICIA BRADLEY INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF PAUL EDWARD BRADLEY ;                                                           1999 BRYAN STREET SUITE 900
        KIMBERLY BOWSER INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF SUE NELL TERRELL ; DONALD                                                               DALLAS TX 75201-3136
                                                                        TERRELL
                                                                        Plainttﬂb)                                                                                               ISSUED THIS
                                                                                                                                                                            12TH DAY OF JULY, 2021

                                                                           VS.                                                                                         JOHN F. WARREN, COUNTY CLERK
                                                                                                                                                                       BY: GUISLA HERNANDEZ, DEPUTY
                                                          SAEFTY-KLEEN SYSTEMS, INC.
                                                                      Defen dant(s)                                                                                            Attorney for Plaintiff
                                                                                                                                                                               KURT B. ARNOLD
         ﬁled in said Court on the 9th day of July, 2021, a copy of which accompanies this citation.                                                                         ARNOLD & ITKIN LLP
                                                                                                                                                                              6009 MEMORIAL DR
        WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY HAND AND SEAL OF                                                          HOUSTON TX 77098
                  at Dallas, Texas, and issued this 12th day   of July, 2021 A.D.                                                                                                 713-222-3800
        OFFICE,
         JOHN F, WARREN, Dallas County Clerk

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                    Guisla Hernandez
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                                     Case 3:22-cv-02243-B Document 1-4 Filed 09/13/21                   Page 35 of 38 PageID 72


                                                                                 OFFICER’S RETURN
CC-21-02778-D      County Court at Law No. 4

RODNEY VANCE, RONEICIA BROWNING, INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT BROWNING, VICTORIA GONZALEZet al vs.SAEFTY-KLEEN
SYSTEMS, INC.

ADDRESS FOR SERVICE:
SERVE ITS REGISTERED AGENT CT CORPORATION SYSTEM
1999 BRYAN STREET SUITE 900
DALLAS TX 75201-3136

Fees:
Came to hand on the          day of                 , 20           , at      o’clock      .m., and executed in              County, Texas by delivering to SAEFTY-
KLEEN SYSTEMS, INC.         in person, a true copy of this Citation together with the accompanying copy of the PLAIN TIFFS' ORIGINAL PETITION with the date and
service at the following times and places to-wit:

Name                                                     Date/Time                            Place, Course and Distance from Courthouse



                                                          SERVICE AFFIDAVIT ATTACHED
And not executed as to the defendant(s),

The diligence used in ﬁnding said defendant(s) being:


and the cause or failure to execute this process is:



and the information received as to the whereabouts     of said defendant(s) being:


                                               Serving Petition and Copy             $                                                 ,   Ofﬁcer

                                               Total     $                                                                    ,   County, Texas

                                                                                              By:                                      a   Depmy

                                                                                                                                       ,   Afflant
       Case 3:22-cv-02243-B Document 1-4 Filed 09/13/21               Page 36 of 38 PageID 73
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.




Envelope ID: 55240185
Status as of 7/12/2021 10:21 AM CST

Associated Case Party: RODNEY VANCE

Name          BarNumber   Email                       TimestampSubmitted      Status
Kurt Arnold               e-service@arnolditkin.com   7/12/2021 10:21:07 AM   SENT
     Case 3:22-cv-02243-B Document 1-4 Filed 09/13/21                                                  Page 37 of 38 PageID 74



                                                    AFFIDAVIT OF S_ERVICE

State of Texas                                                County of Dallas                                         County At Law No.4 Court
Case Number: CC-21-02778-D

Plaintiff:
Rodney Vance; Roneicia Browning, individually and as Personal
Representative of the Estate of Robert Browning; Victoria Gonzalez; Marilyn
Bates, individually and as Personal Representative of the Estate of Arthur
Neill Bates; Donnie Collins; George Dunning; Stephanie Gee; Rayven
Richards; Dildra Seaton, individually and as Personal Representative of the
Estate of Harold Seaton; Sherrice Bell, individually and as Personal
Representative of the Estate of Susan Turner; Balance Bryant; ET. AL.
VS;

Defendant:
Safety-Kleen Systems, Inc.
For:
Kurt Arnold
Arnold & ltkin, LLP
6009 Memorial Drive
Houston, TX 77007

Received by Lexitas on the 19th day of August, 2021 at 11:56 am to be served on Registered
                                                                                           Agent for Safety-
Kleen Systems, lnc. CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX 75201.

l,   Anthony Collins. being duly sworn, depose and say that on the 19th day of August, 2021 at 2:30 pm, l:

Executed service by hand delivering a true copy of the Citation, Copy of Plaintiff's Original Petition to:
                                                                                                           Latoya
Sterns , an authorized acceptance agent employed by Registered Agent CT Corporation System, lnc., who is
authorized to accept service of process for Safety-Kleen Systems, Inc. , at the address of: 1999
                                                                                                  Bryan Street,
Suite 900, Dallas, TX 75201. and informed said person of the contents therein, in compliance with state statutes.




"I certify that l am over the age of 18, have no interest in the above action, and am a Certiﬁed Process Server in
good standing in the judicial circuit in which the process was served. have personal knowledge of the facts set forth
                                                                                           |




in this afﬁdavit, and they are true and correct."


                  CHARLES P GOODSON
                 Notary ID #130419821
                 My Commission Expires
                   October 27, 2023

                                                                                  Anthony Collins
                                                                                  PSC-357 Expires 12/31/2021
Sub           and Sworn to before me on the 20th day of
A US].       21 b the afﬁant who is  rsonally known to                            Lexitas
                                                                                  4299 San Felipe
                                                                                  Suite 350
      TAR    UBLlC                                                                Houston, TX 77027
                                                                                  (713) 375-0121

                                                                                  Our Job Serial Number: ONT-2021004401
                                                                                  Ref: 361063




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       Case 3:22-cv-02243-B Document 1-4 Filed 09/13/21             Page 38 of 38 PageID 75
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Envelope ID: 56551647
Status as of 8/23/2021 12:20 PM CST

Associated Case Party: RODNEY VANCE

Name                BarNumber   Email                       TimestampSubmitted      Status
Kurt Arnold                     e-service@arnolditkin.com   8/23/2021 12:12:57 PM   SENT
Mark R. Mueller     14623500    mark@muellerlaw.com         8/23/2021 12:12:57 PM   SENT
Joseph McGowin                  jmcgowin@arnolditkin.com    8/23/2021 12:12:57 PM   SENT
Cristal Becerra                 cbecerra@arnolditkin.com    8/23/2021 12:12:57 PM   SENT
C.D. "Chuck"Cowan               chuckcowan@tyler.net        8/23/2021 12:12:57 PM   SENT
